                                              UNITED STATES BANKRUPTCY COURT
                                                      FOR THE DISTRICT OF ARIZONA

                                                                       Minute Entry
Hearing Information:
                         Debtor:      CLARA A QUARTERMAN
                  Case Number:        2:11-bk-07867-SSC                             Chapter: 7

           Date / Time / Room:        TUESDAY, NOVEMBER 13, 2012 10:00 AM 7TH FLOOR #701

         Bankruptcy Judge:            SARAH SHARER CURLEY
               Courtroom Clerk:       WANDA GARBERICK
                Reporter / ECR:       SELVINA BENNINK                                                                                                0.00


Matter:
              ADV: 2-11-01154
              RONALD J. QUARTERMAN vs CLARA A QUARTERMAN
              7016 HEARING ON DAMAGES
              R / M #:   1/ 0


Appearances:
        JAMES F KAHN, ATTORNEY FOR RONALD J. QUARTERMAN
        LAWRENCE B. SLATER, ATTORNEY FOR CLARA A QUARTERMAN
        BRAD CRIDER, ATTORNEY FOR RONALD QUARTERMAN

Proceedings:                                                                                                                                  1.00

        Mr. Kahn asked for 90 days to do discovery. He proposes that a judgment be entered and states that parties are working on a figure.

        COURT: IT IS ORDERED SETTING THE DISCOVERY CUTOFF DATE FOR FEBRUARY 7, 2013. IT IS FURTHER ORDERED SETTING A FINAL
        PRE TRIAL CONFERENCE FOR FEBRUARY 14, 2013 AT 10:00 A.M. PARTIES ARE DIRECTED TO FILE THEIR PRE TRIAL STATEMENT PRIOR
        TO THE HEARING.




     Case 2:11-ap-01154-SSC                            Doc 50 Filed 11/13/12 Entered 11/14/12 09:18:41 Desc
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